          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR26


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
LISA JAE LEDFORD                          )
                                          )


      THIS MATTER is before the Court on Defendant’s appeal of the

Order of Detention entered by Magistrate Judge. See Order, filed June

29, 2009. For the reasons that follow, the order is affirmed.



                             I. BACKGROUND

      On April 7, 2009, Defendant and 13 co-defendants were charged

with conspiracy to possess with intent to distribute more than 50 grams of

cocaine base in violation of 21 U.S.C. §§ 841(a)(1) and 846 and knowingly

using a communication facility in committing the drug violations, in violation

of 18 U.S.C. § 843(b). Bill of Indictment, filed April 7, 2009, 1-2. On

June 15, 2009, Defendant entered into a plea agreement with the




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Government wherein she agreed to plead guilty to Count One (the drug

conspiracy charge) in exchange for the dismissal of Count Two by the

Government. On June 18, 2009, Defendant appeared with counsel and

formally entered her guilty plea. See Rule 11 Inquiry and Order of

Acceptance of Plea, filed June 18, 2009. A detention hearing followed.

The Government did not recommend that no sentence of imprisonment

would be imposed on Defendant. The Magistrate Judge found that the

mandatory provisions of 18 U.S.C. § 3143 applied in this case and entered

an oral order revoking Defendant’s conditions of pretrial release and

detaining her pending sentencing. Defendant filed her appeal after the

Magistrate Judge announced his findings in open court and before entry of

the written order. See Sealed Document (“Appeal of Detention Order”),

filed June 26, 2009; Order, filed June 29, 2009.



                              II. DISCUSSION

     The Mandatory Detention Act of 1990 requires that defendants found

guilty of certain categories of offenses involving controlled substances be

detained pending sentencing. There are three exceptions to this

mandatory detention. See 18 U.S.C. § 3143(a)(2); United States v.



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Goforth, 546 F.3d 712, 713-14 (4th Cir. 2008). Defendant contends that

release is appropriate under 18 U.S.C. § 3145(c). Defendant’s Appeal,

supra, at 2. This section provides that a “person subject to detention

pursuant to section 3143(a)(2) or (b)(2), and who meets the conditions of

release set forth in section 3143(a)(1) or (b)(1), may be ordered released,

under appropriate conditions, by the judicial officer, if it is clearly shown

that there are exceptional reasons why such person’s detention would not

be appropriate.” 18 U.S.C. § 3145(c).

      Defendant contends several reasons support a finding of

“exceptional reasons” and submits letters written by herself and family

members in favor of release pending sentencing. See Exhibits 1-4,

attached to Defendant’s Appeal. Defendant states she had no criminal

record prior to pleading guilty herein and cites her gainful employment and

need to provide support for her children as exceptional reasons for her

release. Defendant expresses a willingness to cooperate with the

Government in the upcoming trial of her co-defendants, but notes she has

not done so as of the date she filed this appeal. Defendant argues that

she has significant ties to western North Carolina and has complied with




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the conditions of her pretrial release prior to the entry of her guilty plea in

this case.

      Courts considering the meaning of “exceptional reasons” have

generally concluded that a defendant must present circumstances that are

“clearly out of the ordinary, uncommon or rare.” United States v. Larue,

478 F.3d 924, 926 (8th Cir. 2007) (rejecting defendant’s argument that

complying with pretrial release terms, a lack of criminal history, child

support obligations, and continued employment represent

exceptional reasons); see also United States v. Lea, 360 F.3d 401, 403

(2d Cir. 2004) (“Exceptional circumstances exist where there is ‘a

unique combination of circumstances giving rise to situations that

are out of the ordinary.’” (quoting United States v. DiSomma, 951 F.2d

494, 497 (2d Cir. 1991)).

      After considering Defendant’s arguments, the FTR recordings of the

Rule 11 and detention hearings, along with the relevant case law, the Court

concludes Defendant has offered insufficient evidence to support her

release under § 3145(c). Defendant’s reasons are the same reasons that

many defendants offer in support of release pending sentencing, but these

reasons do not support a finding of exceptional reasons.



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                               III. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s appeal of the

Order of Detention is DENIED, and the Magistrate Judge’s Order of

Detention is AFFIRMED.

                                   Signed: July 2, 2009




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